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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JUSTIN VASQUEZ,                                                          Case No.: 1:21-cv-04916

                                             Plaintiff(s),

                           -against-

 EAST ROCKAWAY CENTER LLC d/b/a
 LYNBROOK RESTORATIVE THERAPY &
 NURSING, YIDDY EISEN, and ANDRZEJ
 “ANDREW” URBANIAK,

                                              Defendant(s).
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                                       CONFIDENTIALITY ORDER

         It is hereby ordered that the following provisions shall govern claims of confidentiality in

 these proceedings:

         (a) The following documents and information may be designated as “confidential,”
             provided such documents are not public and have not previously been disclosed by the
             producing party to anyone except those in its employment or those retained by it [check
             all that apply]:

              X Sensitive Commercial Data, such as confidential or proprietary research,
              development, manufacturing, commercial or business information, trade secrets,
              special formulas, company security matters, customer lists, financial data, projected
              sales data, production data, matters relating to mergers and acquisitions, and pricing
              data.

              X Sensitive Personal Data, such as personal identifiers, financial information, tax
              records, and employer personnel records.

              X Medical and Legal Records, including medical files and reports.

              X Non-public criminal history.

         (b) If any party believes a document not described in the above paragraph should
             nevertheless be considered confidential, it may make an application to the Court. Such
             application shall only be granted for good cause shown.
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       (c) An attorney for the producing party may designate documents or parts thereof as
           confidential by stamping the word “confidential” on each page. If such information is
           provided in an answer to an interrogatory, the attorney may separately append the
           information to the main body of the interrogatory responses, mark such appendices
           “confidential,” and incorporate by reference the appended material into the responses.
           At the time of a deposition or within ten (10) days after receipt of the deposition
           transcript, a party may designate as confidential specific portions of the transcript that
           contain confidential matters under the standards set forth in paragraph (a) above. This
           designation shall be in writing and served upon all counsel. No objection shall be
           interposed at deposition that an answer would elicit confidential information.
           Transcripts will be treated as confidential for this ten-day period. Any portions of a
           transcript designated confidential shall thereafter be treated as confidential in
           accordance with this Order. The confidential portion of the transcript and any exhibits
           referenced solely therein shall be bound in a separate volume and marked “Confidential
           Information” by the reporter.

       (d) Documents designated “confidential” shall be shown only to the attorneys, parties,
           experts, actual or proposed witnesses, court personnel, and other persons necessary to
           review the documents for the prosecution or defense of this lawsuit. Each person who
           is permitted to see confidential documents shall first be shown a copy of this Order and
           shall further be advised of the obligation to honor the confidential designation. Each
           person who is permitted to see confidential documents, who is not a party or an attorney
           for a party, shall be required to sign an agreement to be bound by this Order, attached
           hereto as Exhibit A. The parties agree that any confidential discovery material produced
           in this litigation may only be used in connection with this litigation.

       (e) Review of the confidential documents and information by counsel, experts, or
           consultants in the litigation shall not waive the confidentiality of the documents or
           objections to production.

       (f) The inadvertent, unintentional, or in camera disclosure of a confidential document and
           information shall not generally be deemed a waiver, in whole or in part, of any party’s
           claims of confidentiality. If at any time prior to trial, a producing party realizes that
           some portion(s) of the discovery material that the party produced should be designated
           as “confidential,” the party may so designate by apprising all parties in writing, and
           providing that the material has not already been published or otherwise disclosed, such
           portion(s) shall thereafter be treated as confidential under this Order.

       (g) If a party believes that a document designated or sought to be designated confidential
           by the producing party does not warrant such designation, the party shall first make a
           good faith effort to resolve such a dispute with opposing counsel. In the event that such
           a dispute cannot be resolved by the parties, either party may apply to the Court for a
           determination as to whether the designation is appropriate. The burden rests on the
           party seeking confidentiality to demonstrate that such designation is proper.
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       (h) If the parties wish to move to file a document under seal, they must comply with the
           Eastern District of New York’s Steps for E-Filing Sealed Documents in Civil cases,
           located at:

           https://www.nyed.uscourts.gov/sites/default/files/forms/EfilingSealedCV.pdf

       (i) Within a reasonable period after the conclusion of the litigation, all confidential
           material shall be returned to the respective producing parties or destroyed by the
           recipients.

       (j) In any application to the Court referred to or permitted by this Order, the Court may
           exercise discretion in determining whether the prevailing party in such a dispute may
           recover the costs incurred by it and, if so, the amount to be awarded.

       (k) This Court will retain jurisdiction over all persons subject to this Order to the extent
           necessary to enforce any obligations arising hereunder.




 Jonathan Shalom
 _____________________________                       _____________________________
 By: Jonathan Shalom, Esq.                           By: Kevin D. Clinton, Esq.
 SHALOM LAW, PLLC                                    LEWIS JOHS AVALLONE AVILES, LLP
 Attorneys for Plaintiff                             Attorneys for Defendant
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                                                     LJAA File No.: 0406.1001.NY00


 SO ORDERED.

 Dated: Brooklyn, New York
           February 3 2022
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                                             TARYN A. MERKL
                                             United States Magistrate Judge
                                             Eastern District of New York
